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00410110 1141_1. 01 00113411111 110114.101_4400 50010111011541010' ‘104044;140 1001111.19411141 114144011151'11:| 0111111111$141 410111001:0 514_10 00115410141 01 111004404:1 0_1011‘0`41;0'0' 1101[4'4

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10 100011 01141410 1104100 1010 141044_ 1104040 01010 00140 1004 004 1.41_1.11. 001.11141.100011 114 000011000 000 104 4100.10100 00 441149 1114'14;1.410 10111101¥411141 1404l
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1110 000 10404[140 1111101.1‘.5411141 1411140 5101~.44041 000 00411100110 001 11411.11'11 4401111 100101411411111111|11111111111 411111 110411110010.1110144141 '10414;14010011.111340111
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